UNITED STATES DISTRICT COURT

DISTRICT OF ALASKA

 

UNITED STATES OF AMERICA Case No. 3:!3-cr-00097-SLG-|

Plaintiff(s), MOTION AND APPLICATION OF
vs. NON-ELIGIBLE ATTORNEY FOR
PERMISSION TO APPEAR AND
JASON JAYAVARMAN PARTICIPATE IN THE
UNITED STATES DISTRICT COURT
Defendant(s). FOR THE DISTRICT OF ALASKA

 

 

To the Honorable Judge of the above-entitled court:

I, Jeremy Gordon , hereby apply for permission to appear and
(name)
participate as counsel for Jason Jayavarman , defendant ,
(Name of party) (plaintift/defendant)

in the above-entitled cause pursuant to Rule 83.1 (d) of the Local Rules for the United States
District Court, District of Alaska.
I hereby apply for permission to appear and participate as counsel WITHOUT
ASSOCIATION of local counsel because [check whichever of the following boxes apply, if
any]:
I am a registered participant in the CM/ECF System for the District of Alaska and consent
to service by electronic means through the court's CM/ECF System.
[ ] I have concurrently herewith submitted an application to the Clerk of the Court for
registration as a participant in the CM/ECF System for the District of Alaska and consent
to service by electronic means through the court's CM/ECF System.

[ ] For the reasons set forth in the attached memorandum.

Case 3:13-cr-00097-SLG Document 314 Filed 08/05/19 Page 1 of 3
OR

I hereby designate , amember of the Bar of this court,
(Name)
who maintains an office at the place within the district, with whom the court and opposing

counsel may readily communicate regarding conduct of this case.

DATE: August 1, 2019

!s/ Jeremy Gordon

 

(Signature)

Jeremy Gordon
(Printed Name)

1848 Lone Star Road, Suite 106

(Address)

Mansfiled, Texas 76063
(City/State/Zip)

972-483-4865
(Telephone Number)

Jeremy @ gordondefense.com

(c-mail address)
Consent of Local Counsel*
I hereby consent to the granting of the foregoing application.

DATE:

 

(Signature)

(Printed Name)

(Address)

(City, State, Zip)

(Telephone)

(*Member of the Bar of the United States District Court for the District of Alaska)

Case 3:13-cr-00097-SLG Document 314 Filed 08/05/19 Page 2 of 3
DECLARATION OF NON-ELIGIBLE ATTORNEY

Full Name: Jeremy Brian Gordon

Business Address: 1848 Lone Star Road, Suite 106 , Mansfield, Texas 76063
(Mailing/Street) (City, State, ZIP)
Residence: .
(Mailing/Street) (City, State, ZIP)
Business Telephone: 972-483-4865 e-mail address: Jeremy@gordondefense.com

Other Names/A liases:
Jurisdictions to Which Admitted and year of Admission:

See Attachment "A"

(Jurisdiction) (Address) (Year)
(Jurisdiction) (Address) (Year)
(Jurisdiction) (Address) (Year)
(Qurisdiction) {Address) (Year)

Are you the subject of any pending disciplinary proceeding in any jurisdiction to which admitted?
Yes (] No (If Yes, provide details on a separate attached sheet)

Have you ever been suspended from practice or disbarred in any jurisdiction to which admitted?
Yes CT] No (If Yes, provide details on a separate attached sheet)

In accordance with D.AK. LR 83.1(d)(4)[A](vi), I certify | have read the District of Alaska local
rules by visiting the court's website at http://www.akd.uscourts.gov and understand that the practices
and procedures of this court may differ from the practices and procedures in the courts to which |
am regularly admitted.

A Certificate of Good Standing from a jurisdiction to which I have been admitted is attached.
Pursuant to 28 U.S.C. §1746, | hereby declare under penalty of perjury that the foregoing
information is true, correct, and accurate.

Dated: August 1, 2019

 

Case 3:13-cr-00097-SLG Document 314 Filed 08/05/19 Page 3 of 3
